              Case 1:22-cv-10019-JSR Document 62-1 Filed 03/09/23 Page 1 of 2




 IN THE UNITED STATES DISTRICT COURT
 FOR THE SOUTHERN DISTRICT OF NEW YORK


  JANE DOE 1, individually and on behalf of
  all others similarly situated,                      Case No. 22-cv-10019-JSR


                          Plaintiffs,                 DECLARATION OF BRUCE W.
                                                      DOUGHTY IN SUPPORT OF
  v.                                                  APPLICATION FOR ADMISSION
                                                      PRO HAC VICE
  JPMORGAN CHASE BANK, N.A.,

                          Defendant.




         I, Bruce W. Doughty, declare under penalty of perjury that the following is true and

correct:

         1.      I am a Partner with the law firm of Massey & Gail LLP. I am eligible to practice

and a member of good standing in the state of Illinois. A Certificate of Good Standing is

appended hereto. I submit this declaration in support of my motion for admission to practice pro

hac vice in the above-captioned matter.

         2.      I have not been convicted of a felony.

         3.      I have not been censured, suspended, disbarred, or denied admission or

readmission by any court.

         4.      There are no pending disciplinary proceedings against me in any State or Federal

court.

         Wherefore Bruce W. Doughty respectfully submits that he be permitted to appear as

counsel and advocate pro hac vice in this one case.




                                                  1
        Case 1:22-cv-10019-JSR Document 62-1 Filed 03/09/23 Page 2 of 2



Dated: March 9, 2023                  Respectfully submitted,

                                      /s/ Bruce W. Doughty
                                      Bruce W. Doughty
                                      MASSEY & GAIL LLP
                                      50 East Washington Street, Suite 400
                                      Chicago, IL 60602
                                      Tel.: (312) 283-1590
                                      bdoughty@masseygail.com

                                      Attorney for Defendant JPMorgan
                                      Chase Bank, N.A.




                                      2
